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                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                                  CRIMINAL MINUTES

Date: May 10, 2021             Time: 25 minutes                 Judge: RICHARD SEEBORG
Case No.: 19-cr-00305-RS-1     Case Name: USA v. Eduar Ramos
Attorney for Government: Dan Karmel
Attorney for Defendant: Charles Woodson
Defendant: [X] Present [ ] Not Present
Defendant's Custodial Status: [X] In Custody [ ] Not in Custody

Deputy Clerk: Corinne Lew                              Court Reporter: Jo Ann Bryce
Interpreter: Wendy Maestracci - Spanish                Probation Officer: n/a


                                      PROCEEDINGS

Change of Plea and Sentencing Hearing Held via Zoom.

                                        SUMMARY

Court proceedings held by zoom. General Order 74 authorizes the Court to proceed by way of
video conference hearing.

Change of Plea: Defendant sworn in by clerk. The defendant plead guilty to Count One of the
Indictment.

Sentencing: The court sentenced the defendant to the custody of the Bureau of Prisons for
a period of 3 months as to Count One . Upon release from custody, the defendant shall be
placed on a term of supervised release for a period of 3 years. The defendant is ordered to pay
a special assessment in the amount of $100, which shall be due immediately. The court did not
impose a fine. Government’s Motion to Dismiss Count 2 is granted.
(see judgment for additional conditions)
